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8                  IN THE UNITED STATES DISTRICT COURT FOR THE

9                          EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,           ) 1:14-CR-00042-LJO-SKO
                                         )
12                   Plaintiff,          ) PRELIMINARY ORDER OF
                                         ) FORFEITURE
13        v.                             )
                                         )
14   EMILIO PEREZ-SOLIS,                 )
                                         )
15                   Defendant.          )
16       Based upon the plea agreement entered into between United

17   States of America and defendant Emilio Perez-Solis, it is hereby

18   ORDERED, ADJUDGED AND DECREED as follows:

19       1.    Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §

20   2461(c), defendant Emilio Perez-Solis’ interest in the following

21   property shall be condemned and forfeited to the United States of

22   America, to be disposed of and destroyed according to law:

23             a. Items seized from Emilio Perez-Solis at S. Cherry Ave.
                  in Fresno, California (all numbers are approximate):
24
                  (1)   57,615 counterfeit audio CDs,
25                (2)   12,900 counterfeit movie DVDs,
                  (3)   271 counterfeit music DVDs,
26                (4)   20 counterfeit music CD samples,
                  (5)   140 counterfeit music DVD samples,
27                (6)   5750 clear CD/DVD sleeves,
                  (7)   1200 plastic CD/DVD cases,
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29
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                  (8) 1 Samsung Galaxy Cell Phone,
1                 (9) 89 counterfeit movie DVDs, and
                 (10) 500 clear plastic CD/DVD sleeves.
2
               b. 23 counterfeit movie DVDs seized from Hernan Cortes in
3                 Fresno, California on February 21, 2014.
4              c. 260 counterfeit movie DVDs and 83 counterfeit audio CDs
                  purchased from Emilio Perez-Solis on January 31, 2014.
5
               d. Items seized from the van of Emilio Perez-Solis in
6                 Fresno, California on February 21, 2014:
7                 (1) 3000 blank DVDs, and
                  (2) 5000 DVD cases.
8

9        2.    The above-listed assets constitute property, real or

10   personal, which constitutes or is derived from proceeds traceable to

11   a violation of 18 U.S.C. § 371.

12       3.    Pursuant to Rule 32.2(b), the Attorney General (or a

13   designee) shall be authorized to seize the above-listed property.

14   The aforementioned property shall be seized and held by the

15   Department of Homeland Security, Customs and Border Protection in

16   its secure custody and control.

17       4.    a. Pursuant to 18 U.S.C. § 2461(c), incorporating 21

18   U.S.C. § 853(n), and Local Rule 171, the United States shall publish

19   notice of the order of forfeiture.      Notice of this Order and notice

20   of the Attorney General’s (or a designee’s) intent to dispose of the

21   property in such manner as the Attorney General may direct shall be

22   posted for at least 30 consecutive days on the official internet

23   government forfeiture site www.forfeiture.gov.        The United States

24   may also, to the extent practicable, provide direct written notice

25   to any person known to have alleged an interest in the property that

26   is the subject of the order of forfeiture as a substitute for

27   published notice as to those persons so notified.

28             b. This notice shall state that any person, other than the

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1    defendants, asserting a legal interest in the above-listed property,

2    must file a petition with the Court within sixty (60) days from the

3    first day of publication of the Notice of Forfeiture posted on the

4    official government forfeiture site, or within thirty (30) days from

5    receipt of direct written notice, whichever is earlier.

6         5.    If a petition is timely filed, upon adjudication of all

7    third-party interests, if any, this Court will enter a Final Order of

8    Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §

9    2461(c), in which all interests will be addressed.

10
     IT IS SO ORDERED.
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12     Dated:   April 17, 2015                   /s/ Lawrence J. O’Neill
                                           UNITED STATES DISTRICT JUDGE
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